
PER CURIAM.
In this Anders1 appeal, we affirm B.L.’s adjudication and disposition. However, in so doing, we strike the imposition of the public defender’s fee because the court failed to apprise the juvenile or his parents of their right to contest the amount as required by rule 3.720(d)(1), Florida Rules of Criminal Procedure. On remand, the fee may be reimposed upon compliance with the rule. See, e.g., Green v. State, 650 So.2d 635 (Fla. 5th DCA 1995).
AFFIRMED in part; REMANDED.
PETERSON, C.J., and DAUKSCH and GOSHORN, JJ., concur.

. See Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

